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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MICHAEL TERPIN,

                              Plaintiff,                     No. 20 CV 3557 (CS)

        -against-                                            NOTICE OF MOTION


ELLIS PINSKY, as an individual; and DOES 1-20,
Inclusive,

                              Defendants.


       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, and the

Declaration of Noam Biale dated October 1, 2020 and the exhibit attached thereto, Defendant

Ellis Pinsky will move this Court, at a time and date to be set by the Court, at 300 Quarropas St.,

White Plains, NY 10601, for an order granting his motion, pursuant to Fed. R. Civ. P. 12(b)(6),

to dismiss the First Amended Complaint filed by Plaintiff Michael Terpin insofar as against

Defendant Ellis Pinsky.

Dated: October 1, 2020
       New York, New York
                                              SHER TREMONTE LLP

                                              By: /s/ Noam Biale
                                                  Noam Biale
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